                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

 UNITED STATES OF AMERICA                        )
                                                 )        Case No. 4:21-cr-02-01
 v.                                              )
                                                 )        Judge Travis R. McDonough
                                                 )
 JOHN EUGENE COLLINS, JR.                        )        Magistrate Judge Susan K. Lee
                                                 )


                                             ORDER



         Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count Three of the

 three-count Indictment; (2) accept Defendant’s guilty plea as to Count Three; (3) adjudicate the

 Defendant guilty of Count Three; (4) defer a decision on whether to accept the plea agreement

 until sentencing; and (5) order that Defendant remain in custody until sentencing in this matter

 (Doc. 83). Neither party filed a timely objection to the report and recommendation. After

 reviewing the record, the Court agrees with Magistrate Judge Lee’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Doc. 83) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

      1. Defendant’s motion to withdraw his not guilty plea as to Count Three of the Indictment is

         GRANTED;

      2. Defendant’s plea of guilty to Count Three is ACCEPTED;

      3. Defendant is hereby ADJUDGED guilty of Count Three;

      4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and




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    5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

       scheduled to take place on March 11, 2022 at 9:00 a.m. [EASTERN] before the

       undersigned.

    SO ORDERED.


                                         /s/Travis R. McDonough
                                         TRAVIS R. MCDONOUGH
                                         UNITED STATES DISTRICT JUDGE




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